Case 1:15-bk-14714    Doc 47   Filed 08/11/19 Entered 08/12/19 09:26:58       Desc Main
                               Document     Page 1 of 2



This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: August 11, 2019



________________________________________________________________




                     UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF OHIO
                      WESTERN DIVISION (CINCINNATI)


IN RE:                                          Case No. 15-14714

RUTH A. COLWELL                                 Chapter 7

Debtor                                          Judge Beth A. Buchanan

___________________________________________________________________________
                      ORDER FIXING 2004 EXAMINATION
____________________________________________________________

       This matter is before the Court on the Motion for a 2004 Examination of Ruth
Colwell (Document #46) For good cause shown, an examination under FBR 2004 shall
be held at the Law offices of Goering & Goering, 220 W. Third Street, Cincinnati, Ohio
45202 on the 28th day of August, 2019 at 10:00 a.m.

      Notice having been served on all affected parties and no responses filed, the
Court hereby GRANTS the Motion for 2004 Exam.

SO ORDERED
Case 1:15-bk-14714   Doc 47   Filed 08/11/19 Entered 08/12/19 09:26:58   Desc Main
                              Document     Page 2 of 2




/s/ Eric W. Goering
Eric W. Goering 0061146



Copies to:

Default list
